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imprisonment followed by five years of supervised release. ([203]). Movant

appealed, and, on March 19, 2014, the Eleventh Circuit dismissed the appeal

pursuant to the appeal waiver in Movant’s plea agreement. (See [208], [241]).

      On June 2, 2014, Movant filed his Motion to Vacate. In it, he raises the

following grounds: (1) the Government breached the plea agreement; (2) the Court

abused its discretion in imposing his sentence; (3) the sentence violates Movant’s

due process rights; and (4) the sentence is illegal. (Mot. to Vacate at 4-5).

      On August 4, 2014, the Magistrate Judge issued her R&R. In it, the

Magistrate Judge found that Movant’s first ground is procedurally defaulted

because Movant did not raise it on direct appeal. She found Movant’ remaining

grounds fail because Movant’s appeal waiver bars those claims, and the Eleventh

Circuit has upheld his appeal waiver. The Magistrate Judge also recommended

that a Certificate of Appealability (“COA”) not be issued. Movant did not file any

objections to the R&R.

II.   DISCUSSION

      A.     Legal Standard

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate

judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Williams

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v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982) (per curiam). A district judge

“shall make a de novo determination of those portions of the report or specified

proposed findings or recommendations to which objection is made.” 28 U.S.C.

§ 636(b)(1). Where, as here, no party has objected to the report and

recommendation, a court conducts only a plain error review of the record. United

States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983) (per curiam).

      B.    Analysis

      Movant argues that the Government breached the plea agreement, because

his guideline range was 63 to 78 months, but the Government asked at sentencing

for 120 months. The Magistrate Judge found Movant’s first ground is procedurally

defaulted because Movant did not raise it on direct appeal, and he has neither

shown cause and actual prejudice, nor has he presented proof of actual innocence.

(R&R at 4-5). She further found that, even if Movant had overcome his default,

his claim would fail because he was subject to a statutory minimum sentence of

120 months, and his sentencing could not have constituted a breach of the plea

agreement. The Court finds no plain error in these findings and recommendation.

See Slay, 714 F.2d at 1095.

      Movant next argues that the Court abused its discretion in imposing his

sentence, the sentence violates Movant’s due process rights, and the sentence is

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illegal. The Magistrate Judge found Movant’s remaining grounds fail because

Movant’s appeal waiver bars them. The Court agrees. See Williams v. United

States, 396 F.3d 1340, 1341 (11th Cir. 2005) (“It is well-settled that sentence-

appeal waivers are valid if made knowingly and voluntarily.”). The Magistrate

Judge found that Movant knowingly and voluntarily waived his right to appeal and

collaterally attack his conviction and sentence. She also found that Movant cannot

challenge his appeal waiver because the Eleventh Circuit has upheld it. The Court

agrees. See United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000)

(“[O]nce a matter has been decided adversely to a defendant on direct appeal it

cannot be re-litigated in a collateral attack under section 2255.”). Accordingly, the

Magistrate Judge denied Movant’s remaining grounds for relief. The Court finds

no plain error in these findings and recommendation, and Movant’s Motion to

Vacate is denied. See Slay, 714 F.2d at 1095.

      The Magistrate Judge also recommended that a COA should be denied

because the resolution of the issues presented is not debatable. The Court finds no

plain error in these findings and recommendation, and a COA is denied. Movant is

advised that he “may not appeal the denial but may seek a certificate from the court

of appeals under Federal Rule of Appellate Procedure 22.” Rule 11(a), Rules



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Governing § 2255 Proceedings.1

III.   CONCLUSION

       For the foregoing reasons,

       IT IS HEREBY ORDERED that Magistrate Judge Gerrilyn G. Brill’s Final

Report and Recommendation [246] (“R&R”) is ADOPTED.

       IT IS FURTHER ORDERED that Movant’s Motion to Vacate [243] is

DENIED.

       IT IS FURTHER ORDERED that a Certificate of Appealability is

DENIED.

       IT IS FURTHER ORDERED that Movant’s motion for leave to proceed in

forma pauperis [242] is DENIED AS MOOT.




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       Movant’s motion for leave to proceed in forma pauperis is denied as moot,
because there is no filing fee required for a motion to vacate. The motion also
seeks a free copy of Movant’s plea agreement, but, as the Magistrate Judge noted,
it appears Movant was able to access the agreement after filing his motion, because
he cited the agreement in his Motion to Vacate.


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SO ORDERED this 27th day of April, 2016.




                         _______________________________
                         WILLIAM S. DUFFEY, JR.
                         UNITED STATES DISTRICT JUDGE




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